                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al,                     §
                                                       §
Plaintiffs,                                            §    LEAD CASE NO. 5:21-CV-00844-XR
                                                       §
v.                                                     §
                                                       §    CONSOLIDATED CASE NO. 1:21-CV
                                                       §    0786-XR
GREGORY W. ABBOTT, et al,                              §
                                                       §
Defendants.                                            §
                                                       §
                                                       §
LULAC TEXAS, et al,                                    §
                                                       §
Plaintiffs,                                            §
                                                       §
v.                                                     §
                                                       §
John Scott, et al,                                     §
                                                       §
Defendants.                                            §

              DEFENDANT YVONNE ROSALES’S UNOPPOSED MOTION TO BE
                     EXCUSED FROM ACTIVE PARTICIPATION

         Defendant Yvonne Rosales, in her official capacity as District Attorney for El Paso,

 Hudspeth, and Culberson Counties (“DA Rosales”) respectfully moves the Court to be excused

 from active participation in Case Nos. 5:21-CV-00844-XR and 1:21-CV-0786-XR, including

 any obligation to file responsive pleadings and to attend hearings, conferences, and trial.

         1.      Plaintiffs challenge recent amendments to the Texas Election Code.

Movant DA Rosales will not take positions on the merits of Plaintiffs’ claims. The Movant does

not intend, for example, to file dispositive motions or to offer exhibits or call witnesses at trial.

         2.      The Movant was notified that she was named as defendant to assure the efficacy

 of any injunctive relief the Court might grant. The Secretary of State and the Office of the
 Governor of Texas are actively defending the challenged provisions.

         3.      The Movant will comply with all court orders and judgments applicable to her,

 though excused from active participation. But the expenditure of public resources by so many

 local officials in a matter that she does not intend to actively defend is unnecessary, and her

 mandatory participation only encumbers the efficient management of this litigation.

         4.      For example, the complaints filed by La Union del Pueblo Entero and LULAC

 Texas Plaintiffs together comprise over 90 pages. But see Fed. R. Civ. P. 8(a)(2) (requiring a

 complaint’s statement of the plaintiff’s claim to be “short”). The preparation of answers by

 inactive defendants would alone consume significant resources.

        5.     The Movant therefore respectfully requests the Court to excuse her from

 active participation in Case Nos. 5:21-CV-00844-XR and 1:21-CV-0786-XR, including

 any obligation to file responsive pleadings and to attend hearings, conferences, and trial.

 The requested relief will neither cause prejudice to other parties nor deny the Court the

 benefit of a full, adversarial presentation of the merits of this dispute.

        6.       The Movant does not seek to be excused from her discovery obligations.

Though excused from active participation, the Movant will continue to respond or object to

discovery requests as the Federal Rules of Civil Procedure require. Likewise, the Movant will

provide deposition and trial testimony if compelled in accordance with the Rules.

         7.   District courts “enjoy broad discretion in deciding how best to manage the cases

before them.” Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1366 (11th Cir. 1997). Pursuant

to this discretion, district courts have excused disinterested defendants from active participation in

litigation. See, e.g., The Belt Ry. Co. of Chi. v. Weglarz Hotel III, LLC, No. 1:18-cv-07361 (N.D.

Ill. Mar. 12, 2019); Patch of Land Lending, LLC v. Realty Capital Ventures, LLC, No. 9:17-cv-

80450-KAM (S.D. Fla. Oct. 12, 2017).
         8.     Importantly, the Movant reserves the right to present facts and argument to the

Court on the subject of remedies, including the timing and feasibility of specific remedies that

the Court might order, and the impact of those remedies on the enforcement of any related

criminal law.

         9.     Movant agrees not to enforce the provisions of the Texas Election Code that are at

issue listed in the Plaintiffs’ complaint during the pendency of this case and subject to any

judgment and/or other orders entered by the Court.

        WHEREFORE, Defendant DA Rosales respectfully moves the Court to be excused

 from active participation in Case Nos. 5:21-CV-00844-XR and 1:21-CV-0786-XR, including any

 obligation to file responsive pleadings and to attend hearings, conferences, and trial.

        Counsel for the adverse parties that filed this case against defendant DA Rosales,

 agreed not to oppose the motion.

                                                      Respectfully submitted,

                                                      By: /s/ Roger Rodriguez
                                                          Roger Rodriguez
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                                                          ATTORNEY FOR DEFENDANT
                                                          YVONNE ROSALES, IN HER
                                                          CAPACITY AS DISTRICT
                                                          ATTORNEY FOR EL PASO,
                                                          HUDSPETH, AND
                                                          CULBERSON COUNTIES
                              CERTIFICATE OF CONFERENCE

       I hereby certify that on April 7, 2022 I conferred with counsel for Plaintiffs Graham White

about the foregoing motion. Plaintiffs do not oppose the relief requested.


                                                             /s/ Roger Rodriguez_____
                                                             Roger Rodriguez


                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed electronically on April 7, 2022 with

the Clerk of the Court for the U.S. Western District of Texas by using the CM/ECF system, causing

electronic service upon all counsel of record.

                                                             /s/ Roger Rodriguez_____
                                                             Roger Rodriguez
